             Case 1:04-cv-06490-OWW-GSA         Document 64      Filed 05/02/07   Page 1 of 2


      1   Michael A. McGill SBN 231613
          mcgill@policeattorney.com
      2   LACKIE & DAMMEIER APC
          367 North Second Avenue
      3   Upland, CA 91786
          Telephone: (909) 985-4003
      4   Facsimile: (909) 985-3299
      5   Attorneys for Plaintiffs
          MICHAEL NEVEU
      6
      7                          UNITED STATES DISTRICT COURT
      8             EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
      9
     10   MICHAEL NEVEU,                   ) Case No.: CIV-F-04-6490-OWW-LJO
                                           )
     11               Plaintiff,           )
                                           ) STIPULATION AND ORDER
     12        v.                          ) CONTINUING DISPOSITIVE
                                           ) MOTION DATES
     13   CITY OF FRESNO, a municipality;  )
          JERRY DYER, individually;        )
     14   MICHAEL GUTHRIE, individually;   )
          GREG GARNER, individually;       )
     15   DARREL FIFIELD, individually;    )
          MARTY WEST, individually; ROGER )
     16   ENMARK, individually; and DOES 1 )
          THROUGH 10,                      )
     17                                    )
                      Defendants.          )
     18                                    )
     19
                TO THIS HONORABLE COURT:
     20
                The last day for parties to file and serve dispositive motions is currently May
     21
          7, 2007. The dispositive motion hearing date for any such motion is set for June 4,
     22
          2007. Therefore, any opposition to any such motion would have to be personally
     23
          served and filed on or before May 21, 2007. Counsel for Plaintiff currently is
     24
          scheduled to be out of the state the entire week of May 13, 2007 through May 19,
     25
          2007 and will not be able to adequately prepare any opposition.
     26
                For this reason, the parties desire to extend the dispositive motion filing date
     27
          and the hearing date two weeks. Therefore, the parties request that the Court adopt
     28
          the following dates:
                                     STIPULATION AND [PROPOSED] ORDER

                                                    1

PDF created with pdfFactory trial version www.pdffactory.com
             Case 1:04-cv-06490-OWW-GSA                Document 64        Filed 05/02/07       Page 2 of 2


      1          Last Day to file and personally serve dispositive motions: 5/21/07
      2          Dispositive motion hearing date:                                         6/18/07
      3          All other dates remain unchanged.
      4                                                  Respectfully submitted,
      5   Date: April ___, 2007                          LACKIE & DAMMEIER APC
      6
      7                                                  _____________________________
      8                                                  Michael A. McGill
                                                         Attorneys for Plaintiff
      9                                                  MICHAEL NEVEU
     10
     11   Date: April ___, 2007                          BETTS & WRIGHT
     12
     13                                                  _____________________________
                                                         Joseph D. Rubin
     14
                                                         Attorneys for Defendants
     15                                                  CITY OF FRESNO, ET AL.
     16   ----------------------------------------------------------------------------------------------------
     17
                                                        ORDER

     18
                 GOOD CAUSE appearing, the Court orders that the new dates for this case

     19   are as follows:
     20          Last Day to file and personally serve dispositive motions: 5/21/07
     21          Dispositive motion hearing date:                                         6/18/07
     22          All other previously entered dates remain unchanged.
     23
     24   IT IS SO ORDERED.
     25
          Dated: April 27, 2007                                  /s/ Oliver W. Wanger
     26                                                          Honorable Oliver W. Wanger
     27
     28


                                       STIPULATION AND [PROPOSED] ORDER

                                                            2

PDF created with pdfFactory trial version www.pdffactory.com
